                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF LOUISIAIIA


CATIIERINE BROWN,                                                          CIYIL NO. 2:21-CV-01844
                                                                           SECTION *H',(1)
                   PLAINTIFF,
                                                                           JUDGE:              ]NIILAZZO
v.
                                                                           MOTION TO DISMISS
MINYANGO TOKPAH, ET AL.                                                    FEDERAL RULES OF CIVIL
                                                                            PROCEDURE: 12(b)(2)
                   DEFENDAIIT,                                              12(bX3); 12(b)(a); 12(bXs);
                                                                            12(bX6)




           MEMORANDUM IN SUPPORT OF DEFENDAIIT'S MOTION TO DISMISS

MAY IT PLEASE THE COURT:

           October 13, 2021, Plaintiff filed             a First Supplemental            and Amending Amended

Complaint/Petition for Damages with related Request for Preliminary Injunction, Contradictory

Hearing, and Temporary Restraining Order ("Amended Complaint"). According to Plaintiff the

Amended Complaint was filed "to remove any errors contained in her original                        filingl among other

reasons, "to     clarifr the basis of her claims    and the proper basis to proceed in this Court." (Amended


Complaint at p. 2). Plaintiff included all assertions from the Initial Amended Complaint and added

several more.

           Plaintiff accused the Defendants, collectively, of violating federal criminal.statutes2 and

committing state 'civil tortuous acts' by allegedly engaging in "continual and ongoing pattern of


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 On October 8,2027, Plaintiff filed a Complaint/Petition for Damages with Related Request for Preliminary lnjunction,
Contradictory Hearing, and Temporary Restraining Order ("lnitial Complaint") naming nineteen defendants, including Ms.
Brunson.

2   Violence Against Women Act ("\rAWA") of 2005, as amended in 2013. 42 USC 1345 55 13925-14045;
    lnterstate Partner Cyber, US Code 18 5 2261A; Obscene or

                                                             3
cyber stalking, harassment, defamation, threats to [Plaintiff s] life and safety, and other cyber and

online harassment." (Amended Complaint at p. 1- 2). Specifically, Plaintiff wrongfully asserts that

Ms. Brunson was, "also known as or conducting business                       as the   "THE GOOD GUYS," a YouTube

or Internet online broadcast channel, and/or any other business, all, and the person who personally,

or through others affiliated with herself or her business, intentionally acted to incite or further the

continual and ongoing pattern of cyber stalking, harassment, defamation, threats to Petitioner's

life and safety, often racial based criticisms, threats and attacks upon her and other cyber and online

harassment, such crimes and             civil tortuous acts committed by those defendants as described

below." (Amended Complaint at p. 6-7).

         Plaintiff alleged that the nineteen defendants are "on-line internet groups of individuals

and groups that have used YouTube@ Channel on-line broadcasts to threaten and harass Plaintiff,

pay individuals to harass others due to their opposition to Pan African Activist, Dr. Umar Johnson,

whom they believe Plaintiff is aligned with. Plaintiff asserts that defendants' collective goal is to

"harass, defame and publicly humiliate any individual that might support or sympathize with Dr.

Umar Johnson." (Amended Complaint at p.                 1   0- I I   ). Plaintiff erroneously   stated, without providing

any documentary proof, that Ms. Brunson is '1o Petitioner's understanding, the attorney for and a

collaborator with several defendant entities." (Amended Complaint at p. 27).

          Within the Amended Complaint, Plaintiff asserts that, "On or about June 7,2021,

Petitioner received from [Ms. Brunson] an actual written "Cease and Desist" Letter addressed to

the Petitioner, instructing Petitioner that all contact regarding defendant TCTV should be

directed to her office. (Amended Complaint, at pp. 28-29).




  Harassing Telephone Calls in the District of Columbia or in lnterstate or Foreign Communacations, 47 U.S.C.
  Section 223(a)(1Xc) & (hXrXb).

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         PlaintifPs Amended Complaint includes a photocopy of the Cease-and-Desist letter

received by       Plaintiff. The correspondence, written by Ms. Brunson, contains none of                        the

statements Plaintiff attributes to her in the Amended Complaint. The Cease-and-Desist letter was

mailed from Pennsylvania via U.S. First Class Mail to Plaintiff s domicile/business address in

Newark, Delaware. (See Attached Defendant's Exhibit A                      -   Cease and Desist Correspondence

datedJune 7,2021).

                                                   LAW A}ID ARGUMENT

     L           The Amended Complaint Should Be Dismissed under Rule 12(bX2) because the
                 Louisiana Federal Court Lacks Personal Jurisdiction Over Defendant Brunson.

          Rule 12(b)(2) of the Federal Rules of Civil Procedure require dismissal of an action when

the court lacks personaljurisdiction over a defendant. "When a foreign defendant moves to dismiss

a Amended Complaint               for lack of personal jurisdiction under Rule 12(b)(2), and the Court rules

on the motion without conducting an evidentiary hearing, the plaintiff bears the burden of

establishing      a   prima facie case that the Court has personal jurisdiction over a defendant." Monhon

Ins.   Servs.,   Ltd.   V.   Ritter, 768 F. jd 429, 431 (5'h Cir. 2014);Johnstonv. Multidata      Sys.   Int'l Corp.,

52   j F.id 602, 609 (5'h Cir. 2005).If the defendant disputes the factual bases for jurisdiction, "the
court may receive affidavits, interrogatories, depositions, oral testimony or any combination of the

recognized methods               of   discovery,   in   resolving   a motion to    dismiss   for lack of    personal

jurisdiction." Revellv. Lidov,317 F.3d467,469 Oth Cir.2002); WalkHaydel &Assocs., Inc.v.

Coastal Power Prod. Co., 517 F.3d 235, 241 (5th                   Cir. 2008)

          "It    is well-established that a court may exercise personal jurisdiction over a non-resident

defendant        if: (l)     the forum state's long-arm statute confers personal jurisdiction over that

defendant; and (2) exercising personaljurisdiction over the defendant does not offend "traditional

notions of fair play and substantial justice." Latshaw v. Johnson, 167 F. 3d 208, 211 (5th Cir.


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1999)(quoting      Int'l   Shoe Co.   v.   Washington, 326 U.S. 210, 316 (1945)). The "Fourteenth

Amendment Due Process clause requires satisfaction of a two-prong test in order for a federal

court to properly exercise jurisdiction: (1) the nonresident must have minimum contacts with the

forum state, and (2) subjecting the nonresident to jurisdiction must be consistent with 'traditional

notions of fairptay and substantial justice." Freudensprungv. Offshore Tech. Serv., Inc., 379 F.3d

327,    i43   (5'h Cir. 2004). (Citing Asarco, Inc. v. Glenora, Ltd., 912 F.2d 784 15th     Cir.   1990) and

Int'l   Shoe Co. v. Washington, 326 U.S. 310 (1945)).

          "The 'minimum contacts' prong is satisfied when a defendant "purposefully avails itself of

the privilege of conducting activities within the forum State, thus invoking the benefits and

protections of its laws." Burger King Corp. v. Rudzewick,4Tl U.5.462,474 (1985) (quoting

Hansonv. Denckla, 357 U.S. 2j5, 253 (1958)). "The nonresident defendant's availment must be

such that the defendant, "should reasonably anticipate being hailed into court" in the forum state.

Worldwide Volkrwagen Corp. v. Woodson, 444 U.S. 286, 297 (i,980). "This test "ensures that a

defendant      will not be hailed into a jurisdiction solely as a result of 'random,' 'fortuitous,' or

'attenuated' contacts, or of the 'unilateral activity of another party or   a   third person."' Burger King,

471 U.S. at 475. "Suffrcient minimum contacts will give rise to either specific or                   general

jurisdiction," Monhon Ins. Servs., Ltd. V. Ritter, 768 F.3d 429, 431 (5'h Cir.20t4).

           "Specific jurisdiction arises out of or relates to a defendant's contacts with the forum."

Nacionales de Colombia, S.A. v. Hall,466 U.5.408,414 n.8 (1994). The Fifth Circuit applies a

three-step analysis for the specific jurisdiction inquiry: (1) whether the defendant has minimum

 contacts with the forum state, i.e., whether it purposely directed its activities towards the forum

 state or purposefully availed itself of the privileges of conducting activities there; (2) whether the




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plaintiff   s cause   of action arises out of or results from the defendant's forum-related contacts; and

(3) whether the exercise of personal jurisdiction is fair and reasona ble. Id.            At 433.
         General jurisdiction exists when the defendant's "affiliations with and activities within the

forum state are so 'continuous and systemic' as to render it essentially at home in the forum state,

regardless     of whether such activity is related to the plaintiff s cause of action." Helicopteros

Nacionales de Colombia, S.A. v. Holl,466 U.S. 408, 415 (1984).

         Here, Plaintiff has failed to allege or establish either specific jurisdiction or general

jurisdiction over Ms. Brunson which would justiff hailing her into court in Louisiana.

         A.       Louisiana Court's Exercise of Personal Jurisdiction over Ms. Brunson is Not
                  Appropriate Under Louisiana's Long-Arm Statute.

         Personal jurisdiction over a non-resident defendant may be determined by the state's long-

arm statute and the due process clause. ICEE Distrib., Inc. v. J & J Snack Foods,                    i25 F. 3d 586,

591 Oth     Cir. 2003). Because Louisiana's long-arm statute extends to the limits of the due process

clause of the Fourteenth Amendment, the inquiry is whether subjecting a defendant to personal

jurisdiction in Louisiana would offend due process. See Dicl<son Marine Inc. v. Panalpina, Inc.,

179   F.3d 331, i35      (5'h   Cir.   1999).


            Under Louisiana's long-arm statute, a court may exercise personal jurisdiction when the

claim arises from, specific, enumerated contact by the defendant with the state of Louisiana.3



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  Louisiana Long-Arm Statute, A. A court may exercise personal jurisdiction over a nonresident, who acts directly or
by an agent, as to a cause of action arising from any one of the following activities performed by the nonresident:
(1) Transacting any business in Louisiana; (2) Contracting to supply services or things in Louisiana; (3) Causing injury
or damage by an offense or quasi offense committed through an act or omission in Louisiana; (4) Causing injury or
damage in Louisiana by an offense or quasi offense committed through an act or omission outside of Louisiana if he
regularly does or solicits business, or engages in any other persistent course of conduct, or derives revenue from
goods used or consumed or services rendered in Louisiana; or... (8) Manufacturing of a product or component
thereof which caused damage or injury in Louisiana, if at the time of placing the product into the stream of
 commerce, the manufacturer could have foreseen, realized, expected, or anticipated that the product may
 eventually be found in Louisiana by reason of its nature and the manufacturer's marketing practices. B, ln addition
 to the provisions of Subsection A, a court of this state may exercise personal jurisdiction over a nonresident on any

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         Here, Plaintiff alleges that she has been, "harassed, threatened, affacked, and defamed by

[the nineteen named and unnamed] defendants via the YouTube@ online platform" from February

2021 untilthe filing of herAmended Complaint in October202l. (Plaintiff's Amended Complaint,

pp. 1-52). Plaintiff further alleges that Ms. Brunson injured her by sending her a 'Cease & Desist'

letter that Plaintiff received "on or about June 7, 2021," which she included as an exhibit with her

Amended Complaint. (See Defendant Exhibit                 A).   The alleged offending Cease and Desist letter

was drafted by Ms. Brunson in Pennsylvania and mailed to Plaintiff s residence/place of business

in the state of Delaware (Newark). On or about June 9, 2021, Plaintiff called Ms. Brunson and

admitted that she received the Cease-and-Desist letter in the state of Delaware. (Ms. Brunson-

Declaration)

         Plaintiff s Amended Complaint is absent any allegation or assertion that Ms. Brunson                             has

or had any minimum contacts, or any contact at all with Louisiana, which could establish personal

jurisdiction of her in the forum. Ms. Brunson has never transacted or sought to transact any

business in Louisiana. Ms. Brunson has never contracted or sought to contract to supply services

or things in Louisiana. Ms. Brunson has not caused injury or damage by an offense or quasi offense

committed through an act or omission in Louisiana. Ms. Brunson has not caused injury or damage

in Louisiana by an offense or quasi offense committed through an act or omission outside of

Louisiana, because Ms. Brunson has never regularly conducted or solicited business, or engaged

in any other persistent course of conduct, or derived revenue from goods used or consumed or

services rendered in Louisiana. Simply stated, Ms. Brunson has never had any contact with the




basis consistent   with the constitution of this state and of the Constitution of the United States.   Lo. Rev.   Stot. Ann.   I
73:3207 (A)(1),(2), (3), (4)...(8) ond (B).



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state of Louisiana which would give rise to minimum contacts necessary for her to be hailed into

court in Louisiana.

     PlaintifPs Amended Complaint asserts, under a series of paragraphs entitled, "State of

Jurisdiction", "Petitioner is legally domiciled in the State of Delaware and is a frequent and part-

time resident of Louisiana and within this Court District on dates occurring within the time period

of October l,2020,through the date of filing." (Plaintiff's Amended Complaint, at p.4/. Plaintiff    s


Amended Complaint is silent regarding Ms. Brunson's contacts with the state of Louisiana such

that she would be expected to be hailed into court therein. The Fifth Circuit has announced that,

"the Plaintiff s residence in the forum, and suffering of harm there, will not alone support

[personal]    jurisdiction. Specific jurisdiction requires specific acts toward the forum        and

foreseeable injury alone is not sufficient." Mullins v. TestAmerica, Inc, 564F.3d 386, 401 (5m Cir.

200e).

         B.      Exercising Personal Jurisdiction over Ms. Brunson Would Be Fundamentally
                 Unfair.

                 1. PlaintifPs  Claims Involving Ms. Brunson Arise out of or Relate to Ms.
                      Brunson's Activities in Pennsylvania. Ms. Brunson has absolutely no
                      Connection to Louisiana.

         Plaintiff erroneously asserts in her Amended Complaint that Ms. Brunson is "counsel

representing and also known as or conducting business as the "The Good Guys" and TCTV, a

YouTube@ or Internet online broadcast channel." Ms. Brunson is not counsel for "the Good

Guys" and TCTV. Plaintiff uses this false claim to assert that Ms. Brunson is "to Petitioner's

understanding, the attomey for and a collaborator with several defendant entities." (Amended

Complaint at p. 28). Plaintiff also falsely asserts that, "on or about June 7, 2021," she received

from Ms. Brunson "an actual written "Cease and Desist" letter addressed to the Petitioner,

instructing Petitioner that all contact regarding defendant TCTV should be directed to her office,


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this particular defendant...asserting that she was the Attorney for TCTV." (Amended Complaint

at   p. 29).

          Plaintiffls ultimate claim against Ms. Brunson centers upon a Cease-and-Desist letter

mailed from Pennsylvania to Plaintiff s residence/place of business in Delaware, which Plaintiff

alleges establishes that Ms. Brunson is the attorney for an unnamed defendant. However,     Plaintiff

fails to produce documentary evidence to substantiate her false claim. Incredibly, Plaintiff

submitted a copy      of Ms. Brunson's   Cease and Desist Letter as an exhibit      to her Amended
Complaint. The correspondence is absent any of the statements attributed to Ms. Brunson by the

Plaintiff in her Amended Complaint. (DeJendant's Exhibit A- Cease and Desist Letter)

          Here, the correspondence mailed by Ms. Brunson from Pennsylvania to Plaintiff in

Delaware, never touched Louisiana and because the correspondence does not contain threats,

harassment speech or defamatory statements as falsely claimed by    Plaintiff   due process would be

offended by hailing Ms. Brunson into Louisiana where she has no minimum contacts and has

engaged in no activities that result from alleged injuries that arise out of or relate to Plaintiff   s


claimed controversy or litigation.


                 2.   Ms. Brunson Has Never Availed Herself of Louisiana's Privileges.

          Here, Ms. Brunson, a life-long resident of Pennsylvania, who is licensed to practice law

exclusively in Pennsylvania, has no minimum contacts with Louisiana has never availed herself of

Louisiana's privileges-she has never visited, worked in, or entered a business or contracfual

relationship in Louisiana. Additionally, Ms. Brunson has never purposefully directed any activities

toward or in Louisiana. Any litigation now in progress did not result from any action by Ms.

Brunson, in Louisiana. According to her affidavit Ms. Brunson has never sought to engage in the

practice of law in Louisiana and has not sought clients or business opportunities in Louisiana.


                                                 10
Plaintiff erroneously asserts in her Amended Complaint that Ms. Brunson is "counsel representing

and known as or conducting business as the "The Good Guys" a YouTube or Intemet online

broadcast channel." This claim is not true, and Plaintiff is unable to produce documentary evidence

to substantiate this false claim. Ms. Brunson is not counsel for "The Good Guys" and has never

been counsel for that entity.   Plaintiff s ultimate claim against Ms. Brunson center on a Cease-and-

Desist letter mailed from Pennsylvania to Plaintiff     s   residence/place of business in Delaware. Due

process would be offended by hailing Ms. Brunson into Louisiana where she has no minimum

contacts at all. Ultimately, Ms. Brunson has never availed herself of Louisiana's privileges.


                     3. This Court Lacks General   Personal Jurisdiction over Ms. Brunson.

          General jurisdiction arises when the foreign defendant's minimal contacts are so

"continuous and systemic" as to render [the defendant] essentially home in the forum state."

Goodyear Dunlop Tires Operations, S.A. v. Brown,            13   t   S.   Ct. 2850, 255t   (201 1) (citing   Int'l   Shoe

Co. Washington, 326 U.S. 310, 317 (1945)).

          "The continuous and systemic contacts test is a difficult one to meet, requiring extensive

contacts between a defendant and a forum. Even repeated contacts with the forum residents by a

foreign defendant may not meet the requisite substantial, continuous, and systemic contacts

required for a finding of general jurisdiction," Monhon Ins. Serys., Ltd. Ritter, 768 F. 3d 429, 432

(5'h   Cir. 20t4).

          General jurisdiction plainly does not apply here. Here, Plaintiff has failed                   to provide
sufficient allegations to support a finding of general jurisdiction. Plaintiffs Amended Complaint

fails to include assertions surrounding Ms. Brunson's contacts with Louisiana. Ms. Brunson has

no contacts with Louisiana, and certainly no purposeful minimum contacts.




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                4.   This Court Lacks Specific Personal Jurisdiction Over Defendant.

         Specific jurisdiction arises when a plaintiff s cause of action arises from or is directly

related to the defendant's contact with the forum state. Helicopteros Nacionales de Colombia, S.A.

v. Hall, 46 U.S. 408, 414 n.8 (198a). Specific jurisdiction exists when a nonresident defendant

"has purposefully directed its activities at the forum State and litigation results from alleged

injuries that arise out of or relate to those activities." Pando Brandywine Corp. v. Potomac Elec.

Power Co., 253F. 3d 865. 868 Oth Cir. 2001).

         Here, under the Fifth Circuit's three-step analysis to determine specific jurisdiction,      it   is

clear, the Louisiana court lacks specific jurisdiction over Ms. Brunson. Ms. Brunson did not have

any contact with the forum and had never purposely directed her activities toward the forum or

purposefully avail herself of the privileges of conducting activities there. The Plaintiff s cause of

action did not arise out of or result from Ms. Brunson's forum-related contacts, because Ms.

Brunson has no forum-related contacts. Finally, under the facts, where Ms. Brunson has no contact

with or contacts within the forum, the exercise of personal jurisdiction would be neither fair or

reasonable.



                5.   The Mailing of a Cease-and-Desist Letter from Pennsylvania to Delaware
                     Without More Does Not Confer Personal Jurisdiction in Louisiana.

         Ms. Brunson's action of mailing a cease-and-desist letter from Pennsylvania to Plaintiff          s


home/ business location in Delaware does not confer nersonal jurisdiction in Louisiana to Ms.

Brunson. There were no additional activities conducted by Ms. Brunson that Plaintiffcould point

to claim the mailing of the letter from Pennsylvania to Delaware constitutes minimum contacts

needed   to hail Ms. Brunson into court in Louisiana. (See Red lling Shoe Co. v. Hockerson-




                                                   12
Halberstadt, Inc., 148 F.3d 1355 (Fed Cir. /,998) (The Federal Circuit specifically held that, for

fairness reasons, cease-and-desist letters alone do notjustify personaljurisdiction.)


IL        This Amended Complaint Should Be Dismissed for Improper Venue Under Federal
          Rule of Civil Procedure, Rule 12(bX3).


          Under Rule l2(b)(3) of the Federal Rules of Civil Procedure, a defendant may move to

dismiss an action due to "improper venue." Under subsection (b) of the General Venue Statute, 28

U.S.C. $ 1391, a civil action wherein jurisdiction is not founded solely on diversity of citizenship

may, except as otherwise provided by law, be brought only in:

          (1) a judicial district where any defendant resides,                       if all defendants        are residents of the

                State in which the district is located,

          (2) a judicial district in which a substantial                  part of the events or omissions giving rise to

               the claim occurred, or a substantial part of the property that is the subject of the action

                is situated, or

          (3) A judicial district in which any defendant is subject to the court's personal jurisdiction

               with respect to such action" 28 U.S.C. S I j91 (b).

          When an action is brought in the wrong venue, the district court must dismiss the Amended

Complaint or       "if it be in the interest ofjustice,         transfer such case to any district or division in which

it could have been brought "[flor the convenience of the parties and witnesses, in the interest of

justice." 28 U.S.C. $ 1404 (a).4




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  The court's authority to dismiss an action due to improper venue is governed by 28 U.S.C. $ 1406. Section 1406(a) which states
that ifan action is hled in the wrong distric! the district court "shall dismiss, or ifit be in the interest ofjustice, transfer such case
to any district or division in which it could have been brought." 28 U.S.C. g la06 (a).



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        When considering a Rule 12(bX3) motion, the court accepts all undisputed facts in the

plaintiff   s pleadings as    true, and factual conflicts are resolved in the plaintiff s favor. See Ginter

exrel. Ballardv. Belcher, Pendergast & Laporte, 5i6 F. 3d 439.448-49             (5th   Cir. 2005). Plaintiffs

have the "obligation to institute the action in a permissible forum," and thus bear "the burden             of

establishing that venue is proper." Freeman v. Follin, 254 F. Supp. 2d 52, 56 (D.D.C. 200j). On a

Rule l2 (b)(3) motion to dismiss for improper venue, the plaintiff bears the burden of showing that

venue in its chosen forum is proper. Swoboda v. Manders, 2014 WL 2515410 (M.D. La. June                     4,


2014), citing Gray Cas. And Sur. Co. v. Lebas, 2013 WL 74351 (E.D. a. Jan. 7, 2013). A court

may consider extrinsic material, including affidavits and other material, in determining whether

venue is proper. Asevedo v. NBCUniversal Media, LLC, 921 F. Supp.2d                 57i,     58g-g0 (E.D. La

2013). To the extent that the facts alleged in the Amended Complaint are uncontroverted by

affidavits from the defendant, they are accepted as true for purposes of resolving the venue issue.

Fed.R.Civ.P. 12(b)(j); 28 U.S.C. $ 1a06@).

            Pursuant to 28 U.S.C. $    l39l (bX2), venue is proper in "a judicial district in which    a

substantial part of the events or omissions giving rise to the claim occurred." To determine

whether a substantial part of the events giving rise to the claim occurred in a particular district, a

court considers "only those acts and omissions that have a close nexus to the wrong."

Fed.R.Civ.P. 12@(2)       .




        Plaintiff s claim against Ms. Brunson centers upon a Cease-and-Desist lettermailed by Ms.

Brunson in Pennsylvania to Plaintiff s residence/place of business in Newark, Delaware. Plaintiff

asserts that Ms. Brunson's mailing of the cease-and the -desist letter establishes that Ms. Brunson

is the attorney, Agent and business partner for unnamed defendants, THE GOOD GUY and                  TCTV.

Plaintiff also contends that this action also signaled that Ms. Brunson "intentionally acted to incite



                                                       t4
or further the continual and ongoing pattem of cyber stalking, harassment, defamation, threats to

Petitioner's life and safety, and other cyber and online harassment, such crimes and civil tortuous

acts committed by those defendants as described    below." (Plaintiff's Amended Complaint, p.7).ln

this matter Plaintiff alleges that she was initially working with several of the defendants producing

contents for a You Tube channel programming. Along the way the group splintered and began

instances of infighting and vulgar name calling which was posted to various You Tube channels.

Through all   of Plaintiffs claims which     she went to great length to detail     in her Amended
Complaint, she did not allege any specific facts or instances of Ms. Brunson engaging in any of

the acts that occurred surrounding the creation of the contact for the You Tube channel(s). While

Plaintiff catalogues a laundry list of acts that the eighteen other defendants engaged in, her central

claim against Ms. Brunson is that in June 2021, she received a cease-and-desist letter from Ms.

Brunson, requesting that she refrain from contacting an individual who no longer wanted to

participate in the content creation business with Plaintiff. Despite this one act by Ms. Brunson,

Plaintiff has attributed the acts ofthe additional eighteen defendant onto Ms. Brunson simply based

upon her sending the Plaintiff a cease-and-desist letter. However, Plaintiff fails to refer to or

produce any documentary evidence to substantiate her false claim. The correspondence mailed by

Ms. Brunson, to Plaintiff in Delaware, never touched Louisiana and does not contain threats,

harassment speech or defamatory statements as falsely claimed by Plaintiff, due process would be

offended by hailing Ms. Brunson into Louisiana where she has no established minimum contacts

and has engaged in no activities that "result in alleged injuries that arise out of or relate to

Plaintiff s claimed controversy or litigation." Because the Plaintiff is unable to establish any

minimum contacts between Ms. Brunson's sending a cease-and-desist letter and the Louisiana

court, it is clear that Plaintiff is seeking to hail Ms. Brunson into an improper venue. Louisiana is



                                                  15
an improper jurisdiction for a claim against Ms. Brunson regarding Plaintiffs claim                   and

controversy.

       The Plaintiff s Amended Complaint is bereft      of    any facts relied upon to establish venue

in the Eastern District of Louisiana. Plaintiff s Amended Complaint alleges Louisiana is the

proper venue because Plaintiff is "legally domiciled in the State of Delaware and is a frequent

part-time resident of the State of Louisiana where she was residing. . .on dates of October     l,
2020, through the date of filing...where she was attacked, assaulted and threatened." (Amended

Complaint at p.   j).   There is no specific allegation included in Plaintiff s Amended Complaint

which states that Ms. Brunson o'attacked, assaulted and threatened" her during the relevant time

period of October 1,2020, through October 8,2021, when the Amended Complaint was filed.

m.     This Amended Complaint Should Be Dismissed for Insufficient Process Under
       Federal Rule of Civil Procedure, Rule 12(b)(4) or in the alternative the Insufficient
       Service of Process Should be Quashed because it Includes Erroneous Information
       Which Sole Purpose Was to Prejudice Ms. Brunson and Lend to Plaintiffs Narrative
       That Ms. Brunson Is Acting In Concert With the Additional Eighteen Named and
       Unnamed Defendants.


       Rule 12(b)(4) permits a defendant to move to dismiss an action for defects in the form of

the process. Such a motion "is proper only to challenge noncompliance with the provisions            of

Rule 4(b) of the Federal Rules of Civil Procedure or any applicable provision incorporated by

Rule 4(b) that deals specifically with the content of the summons." 58 Charles Alan        lhight &

Arthur R. Miller, Federal Practice and Procedure, $ 1j5j (jd ed.). Rule 4(b) provides:

On or after filing the Amended Complaint, the plaintiff may present a summons to the clerk for

signature and seal. If the summons is properly completed, the clerk must sign, seal and issue it to

the plaintiff for service on the defendant.   A summons   -   or a copy of a summons that is addressed

to multiple defendants- must be issued for each defendant to be served Fed. R. Civ. P. 4(b).



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        Pursuant to Rule     4(a)(l), (a) summons must: (A) name the court and the parties; (B) be

directed to the defendant; (C) state the name and address the plaintiff s attomey or                - if
unrepresented   - of the plaintiff; (D) state the time within which the defendant must appear and
defend; (E)   notiff the defendant that a failure to appear        and defend    will result in a default

judgement; and (G) bear the court's seal. Fed. R. Civ. P.a @(1).

        In addition to including the required information, Plaintiff also included false information

with the intent to create the basis to claim that Louisiana has personal jurisdiction over Ms.

Brunson for this lawsuit. Without observing or obtaining any valid information regarding Ms.

Brunson's status Plaintiff referred to Ms. Brunson as, "Counsel representing and also known                       as


or conducting business as the "THE GOOD GUYS" a You Tube or Internet online broadcast

channel."

IV.     Motion to Dismiss for Insufficient Service of Process Rule 12(b)(5)

        Federal Rule of Civil Procedure 12(bX5) provides for the dismissal of a claim                   if   service

of process was not properly served in the appropriate manner. The Fifth Circuit has found, "In

the absence of valid service of process, proceedings against a party are void." Aetna Business

Credit, Inc. v. (Jniversal Ddcor & Interior Design, 635 F .2d 434, 435 (5ft Cir. 1981). "When

service of process is challenged, the serving party bears the burden of establishing its validity."

People's (Jnited Equip. Fin. Corp. v. Hartmann, 447 F. App'x 522, 524 (5'h Cir. 2011).

                                                sauthorizes service of an out-of-state defendant
         Federal Rule of Civil Procedure a(eXl)

pursuant to the rules of the state where the federal court is located. Ms. Brunson resides in




s (e) SERVING AN INDIVIDUAL WITHIN A JUDICIAL DISTRICT OF THE UNITED STATES. Unless           federal law provides
othenarise, an individual-  other than a minor, an incompetent person, or a person whose waiver has been filed         -
may be served in a judicial district of the United States by: (1) following state law for serving a summons in an
action brought in courts of generaljurisdiction in the state where the district court is located or where service is
made; Fed. R.Civ P. a(eX1).

                                                          t7
Pennsylvania. The Pennsylvania Rules of Civil Procedure allow an out-of-state defendant to be

served by mailing process to the defendant, "by any form of mail requiring a receipt signed by

the defendant or his authorized agent. Pa. R. Civ. P. 403; Pa. R. Civ. P. 404(2) (allowing

services of an out of state defendant "by moil inthe manner provided.by Rule       403.") The

burden is on the plaintiff to show that the defendant or the defendant's authorized agent signed

the return receipt. Grand Entertainment Group v. Star Media sales, Inc., 988 F.2d 476, 488 (3d

Cir.   1993) ("the party asserting the validity of service bears the burden of proof on that issue");

see also Hutton v.   KDM Transport, Inc. No. I4-i264, 2014 WL j35i237, at * j(E.D. Pa. July         9,

2014)(*Where the plaintiff relies on receipt by someone other than the defendant, he must

produce evidence that the signatory had authority to sign no the defendant's behalf.")

         "The fact that an individual is the defendant's secretary or has the authority to accept

mail on behalf of the defendant does not establish that such individual is an agent of the

defendant authorized to accept service of process." Aetna Inc. v. Insys Therapeutics, Inc., 284 F.

Supp. 3d 582, 586 (E.D. Pa. 2018) (finding that the authorization to accept mail does not

establish the authority to accept service); Furinv. Reese Teleservices, Inc., No. 2:07cv1542 2008

WL 5068955, at     *l   (W.D. Pa. Nov 24, 2008) (Finding that the Third Circuit "has expressly

recognized that offering proof that a mail clerk or receptionist signed for the package offer[s] no

proof that the signatures belong to the defendant's authorized agents")(quoting Lampe v. Xouth,

Inc. 952 F.2d 697, 701 (3d Cir. l99l)).

         Here, Plaintiff has not established that Ms. Brunson or an authorized agent signed the

return receipt associated with Plaintiff s certified mailing receipt number 7021 1970 0001 0995

7792. According to the U.S. Postal Service return receipt attached the Summons In A Civil

Action filed on November 4,2021, the return receipt was signed by "NL C19" with the box



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marked agent checked        off.   The Retum Receipt also states it was received by "Brunson" on

llll5l202l.    (See Attached       Exhibit B, Plaintiff's Summons In a Civil Actionfor Theresa D.

Brunson). Ms. Brunson asserts that the registered agent for the Law Office of Theresa D.

Brunson, Esquire is Cynthia Sims. The Return Receipt was never signed by Ms. Brunson's

Registered Agent. Ms. Brunson is unaware of who             'NL C19'   is. Ms. Brunson never authorized

or designated anyone other than Ms. Sims to act as her agent. Additionally, Ms. Brunson denies

that she placed her surname on the U.S. Mail Return Receipt beside the Date of Delivery which

is listed   as"llll5l21."    Ms. Brunson was never present at     6l0l Limekiln   Pike on November 15,

2021 . Additionally, on December 14,2021, during PlaintifPs Preliminary Injunction Hearing

Plaintiff s attorney admitted the following, "Theresa Brunson and was served and I have a

signature; again, not her signature but a signature for the office it was served      on." PlaintifPs

attorney also stated,   "I will    say that the Good Guys are actually an LLC, and I believe the agent

is Brunson...So we served Brunson and that would be one of these alias or group defendants...I

neglected to   file a return on the Good Guys, but it is the agent, Ms. Brunson, who is the lawyer in

this...Yeah Brunson was served. I don't have a retum on the Good Guys and I apologize for that.

That's the LLC. .." (Transuipt of Preliminary Injunction Hearing, December 14, 2021, P. 4, L.

16-8; P.5, L. 6-19.). Plaintiff s attorney, an officer of the court, made several untrue statements

to the Court in reference to Ms. Brunson being served with the Plaintiff s Amended Complaint.

Plaintiff s complaint was delivered to the office of The Giving of Self Partnership, and it was

received by an unknown employee who was in the office when the mailing was delivered. The

complaint was not accepted by Ms. Brunson, or her registered agent, Ms. Cynthia Sims. Under

the rules, Plaintiff is required to provide evidence that the signatory had authority to sign on Ms.

Brunson's behalf. See Hutton v. KDM Transport, Inc. No. 14-3264, 2014 WL i353237, at



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*3(E.D. Pa. July 9, 20i,4)(*Where the plaintiff relies on receipt by someone other than the

defendant, he must produce evidence that the signatory had authority to sign no the defendant's

behalf.")

       Here, Plaintiff has failed to properly serve process on Ms. Brunson and further Plaintiff

summarily anointed Ms. Brunson the "Agent" of an additional unnamed defendants The Good

Guy and TCTV. Plaintiff has claimed that the purported service of Ms. Brunson, amounted to

service of also "The Good Guy" and "TCTV."

        Because Plaintiff improperly served Ms. Brunson and then appointed her the agent      of

additional defendants, whom she has no knowledge of, for Plaintiff s convenience, the PlaintifPs

claim should be dismissed under Rule 12(b)(5).

V.      Motion to Dismiss for Failure to State a Claim Upon Which Relief Can Be Granted
        under Rule 12(b)(6)


        Federal Rule of Civil Procedure 8(a) provides, in relevant part that a pleading that states a

claim for relief must contain:

        (1) A short and plain statement of the grounds for the court's jurisdiction, unless the

            court already has jurisdiction, and the claim needs no jurisdictional support; and

        (2) A short and plain statement of the claim showing that the pleader is entitled to relief;

        (3) A demand for the relief, which may include relief in the alternative or different types

            of relief.

Fed. R.Civ.P.8(a)

        Under Rule 8(a)(2), the statement need only "give the defendant fair notice of what the

claim is and the grounds upon which it rests." Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555

(2007). "While an Amended Complaint attacked by a Rule 12(bX6) motion to dismiss need not



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contain detailed factual allegations, a plaintiffls obligation to provide the groups of his

entitlement to relief requires more than labels and conclusions." Id.    at   555.

          Rule 12(b)(6) of the Federal Rules of Civil Procedure allows apartyto move for

dismissal of Complaint for failure to state a claim upon which relief can be granted. A Rule

12(bX6) motion to dismiss tests the sufficiency of the Complaint against the legal standard set

forth in Rule 8, which requires "a short and plain statement of the claim showing that the pleader

is entitled to relief." Fed R. Civ. P. 8(a)(2). "To survive a motion to dismiss, a Complaint must

contain sufficient factual matter, accepted as true, to 'state a claim to relief that is

plausible on its face." Ashuoft v. Iqbal, 556 U.S. 662, 678 (2009)(quoting Bell Atl. Corp.         v.


Twombly, 550 U.S. 544, 570 (2007). "[F]acial plausibility exists when the plaintiff pleads factual

content that allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged." Id. at 678 (citing Twombly, 550 U.S. at 556). Hence, the Complaint need

not set out "detailed factual allegations," but something "more than labels and conclusions, and a

formulaic recitation of the elements of a cause of action" is required. Twombly, 550 U.S. at 555.

When conducting its inquiry, the Court must "accept all well-pleaded facts as true and view

facts in the light most favorable to the plaintiff." Bustos v. Martini Club Inc., 599 F.3d 458, 461

 (5th   Cir. 2010).

          Here, this Court should dismiss Plaintiff s Amended Complaint without leave to amend

for the following reasons: (1) Plaintiff offers no relevant facts or legal claims against Ms.

Brunson; (2) Plaintiff pleads no facts to support the conclusion that Ms. Brunson engaged in any

of the acts which constitute the elements for violation of the Louisiana state criminal statutes, or

the U.S. Federal criminal statutes referenced in the Amended Complaint; (3) The            Plaintifls

citing state and federal criminal statutes in the Amended Complaint alluding to violations of



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criminal statutes are without merit as a matter of law; (4) Plaintiff is without authority to

prosecute federal and state criminal statutes. For these reasons, the Court should dismiss the

Amended Complaint without leave to amend.

        Plaintiff s Amended Complaint      asserts that   Plaintiff is seeking $75,000 in damages for

injuries suffered as the result of Ms. Brunson acting in concert with eighteen other individuals,

whom she has never met, to engage in acts and omissions of the following Federal and State

criminal statutes: RS 14:40.7 Cyberbullying     -   State Criminal Statute, RS 14:40.3      -
Cyberstalking   -   State Criminal Statute; RS 14:285 Unlawful Communications...Harassment               -
State Criminal Statute;Violence Against Women Act           ("VAWA") of 2005, As Amended in 2013,

42 USC 136 ($$ 13925      - 14045) a Congressional Spending authorization statute for programs
and services benefiting women; US Code 18 $ 2261A            -   Interstate Intimate Partner Cyber

Stalking   - Federal Criminal Statute;   47 USC Section 223(a)(l)(C)       & (h)(lXB)   -   Obscene or

Harassing Telephone Calls in the District of Columbia or in lnterstate or Foreign

Communications.


                                LEGAL ARGUMENT

    A. Plaintiff Makes Only Conclusory Allegations of Wrongdoing by Ms. Brunson Using
       False Claims of a Business Relationship with Unnamed Defendants "THE GOOD
        GUYS" and "TVTN".

        Plaintiff s Amended Complaint asserts that Ms. Brunson "is conducting business               as "The

Good Guys", a YouTube or internet online broadcast channel and/or any other business, all, and

the person who personally, or through others affiliated with herself and her business intentionally

acted   to incite or further the continual and ongoing pattern of cyber stalking,               harassment,

defamation, threats to Petitioner's life and safety and other cyber and online harassment, such




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crimes and civil torruous acts committed by those defendants as described below." (Amended

Complaint, p.7)

        Plaintiffs Amended Complaint further asserts that Ms. Brunson, "is to Petitioner's

understanding, the attorney      for and a collaborator with several defendant-aligned            entities,

including "TCTV" and "THE GOOD GUYS", both entities which have been horribly aggressive

and threatening to Petitioner." (Amended Complaint at p. 28)

        With the above conclusory statements, Plaintiff has failed to allege any specific facts to

support any of the above supposition. Plaintiff further claims on June 7,2021, she "received a

written Cease and Desist Letter addressed to the Petitioner, instructing Petitioner that all contact

regarding defendant TCTV should be directed to her office, asserting that she was the Attomey for

TCTV." To     buttress this claim, the Plaintiff included a photocopy of Ms. Brunson's cease and

desist letter sent to Plaintiff. (Exhibit   A- Cease and   Desist   Letter) A review of the letter reveals

that neither of Plaintiff s above claims stating the contents of the letter are true. The letter does not

contain any assertion that Ms. Brunson is defendant TCTV's attorney, nor does she demand that

Plaintiff contact her office regarding defendant TCTV. Plaintiff blatantly fabricated information

which can easily be debunked by her own exhibit, introduced with her Amended Complaint.

        Plaintiff s Amended Complaint states that the content of the cease-and-desist letter was

"explicitly warning and attempt to intimidate your Petitioner into having her discontinue

Complaints against defendant TCTV for his online harassment of Petitioner, is an act to intimidate

Petitioner and in furtherance of these online actors' illegal and damaging acts against Petitioner."

(Amended Complaint at       p. 29). By this conclusory statement Plaintiff makes an untenable
connection between Ms. Brunson and all eighteen defendants and proclaims the cease-and-desist




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Ietter as Ms. Brunson's vehicle to assist the other defendants in the alleged harassing and

threatening   o   f Plaintiff.

   B. This Court Need Not Accept Plaintiffs       Speculative "Facts" and Spurious
       Conclusions of Law.

       In evaluating a motion to dismiss under Rule 12(b)(6) for failure to state a claim, the Court

must treat well-pleaded facts in the Amended Complaint as true. The Court does not, however,

have to accept as true "allegations that are merely conclusory, unwarranted deductions of fact, or

unreasonable inferences. Nor is the Court bound to accept as true a legal conclusion couched as a

factual allegation." Papasan v. Allain, 478 U.S. 265, 286 (1986). Additionally, a Complaint must

be plausible on its face requiring the Plaintiff to plead "factual content that allows the court to

draw the reasonable inference that the defendant is liable for the misconduct alleged." Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009).

    C. Plaintiff Fails to State Any Claim Whatsoever Against Ms. Brunson sounding in the
       various State and Federal Criminal Statutes Plaintiff Repeatedly Refers to
       Throughout the Amended Complaint.

       Plaintiff s Amended Complaint fails completely to allege any actionable facts against Ms.

Brunson. The allegations in the Amended Complaint against Ms. Brunson, consist solely of           (l)
an allegation that Ms. Brunson mailed a Cease-and-Desist letter to Plaintiff requesting that she

refrain from harassing an individualthat Plaintiff was working with to create controversial content

for a YouTube channel and (2) fabrications that the Cease-and-Desist letter       addressed   to   the

Plaintiff, instructed Plaintiffthat all contact regarding defendant TCTV should be directed to Ms.

Brunson's office and asserting that she was the Attorney for TCTV. From the allegation regarding

Plaintiff s receipt of the Cease-and-Desist letter Plaintiff leaps to conclusions of law that Ms.

Brunson's sending her a Cease-and-Desist letter is an act to intimidate her and was done in




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                                 CONCLUSION


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Drtc* J@fiy l4,2g?2                                               TIIERESA D. BRITNSON, Pro Se




                                                                  Thcresa D. Bnrrsou Pro Sc
                                                                  6442 N. 166 StEr
                                                                  Ptilrdclphil PA 19135
                                                                  (267) 2s r4E2r
                                                                  dbtrrnsorEsq@gmail.con




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